40 F.3d 1250
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.NSK LTD. and NSK Corporation, Plaintiffs-Appellees,v.UNITED STATES, Defendant,The Torrington Company, Defendant,andFederal-Mogul Corporation, Defendant-Appellant.
    No. 94-1103.
    United States Court of Appeals, Federal Circuit.
    Oct. 20, 1994.
    
      1
      Appeal from a decision of the United States Court of International Trade in 93-08-00469 entered October 8, 1993;  Judge Nicholas Tsoucalas.
    
    
      2
      GRANTED.
    
    ORDER
    
      3
      Upon consideration of the motion of Federal-Mogul Corporation ("Federal-Mogul"), with the consent of all other parties, for an Order remanding this matter to the Court of International Trade so that that Court may reconsider its decision in Court No. 93-08-00469, entered on October 8, 1993, in light of the decision of this Court of September 30, 1994 in Appeal No. 93-1525 and Appeal No. 93-1534,
    
    IT IS ORDERED THAT:
    
      4
      (1) The motion is granted, (2) the matter is remanded to the Court of International Trade, and (3) the Court of International Trade is requested to reconsider its decision in Court No. 93-08-00469, entered on October 8, 1993, in light of this Court's decision of September 30, 1994 in Appeal No. 93-1525 and Appeal No. 93-1534.
    
    